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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE PHILIPS RECALLED CPAP,               :
BI-LEVEL PAP, AND MECHANICAL               : Master Docket: Misc. No. 21-mc-1230-JFC
VENTILATOR PRODUCTS                        :
LITIGATION                                 : MDL No. 3014
                                           :
This Document Relates to: All Actions      :
Asserting Economic Loss Claims             :
                                           :
                                           :

            NOTICE OF FILING OF REVISED FINAL APPROVAL ORDER

       Pursuant to instructions from the Court at the Final Fairness Hearing on April 11, 2024,

Settlement Class Counsel has revised the Proposed Final Approval Order, attached hereto as

Exhibit “A,” in support of the Motion for Final Approval of the Economic Loss Class Settlement.

 Dated: April 11, 2024                            Respectfully submitted,

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